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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )     Chapter 7
                                                           )
    START MAN FURNITURE, LLC, et al.,1                     )     Case No. 20-10553 (CTG)
                                                           )
                                Debtors.                   )     (Jointly Administered)
                                                           )                      1628
                                                                 Ref. Docket No. ____

             ORDER SHORTENING NOTICE PERIOD AND SCHEDULING
            HEARING WITH RESPECT TO THE TRUSTEE’S MOTION FOR
       AUTHORIZATION TO EXECUTE FAA TERMINATIONS AND DISCLAIMERS
       PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(b) AND BANKRUPTCY RULE 9019

                   Upon consideration of the motion (the “Motion to Shorten”)2 of Alfred T. Giuliano,

chapter 7 trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), for

the entry of an order (this “Order”) shortening notice with respect to the Trustee’s Motion for

Authorization to Execute FAA Terminations and Disclaimers Pursuant to 11 U.S.C. §§ 105(a) and

363(b) and Bankruptcy Rule 9019 (the “Motion”) and setting a hearing on the Motion, all as more

fully set forth in the Motion to Shorten; and the United States District Court for the District of

Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred to

this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having



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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a
      AVF Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a
      AVF Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent,
      LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art
      Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC)
      (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
      (5198); and Comfort Mattress LLC (4463).
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      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



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found that it may enter a final order consistent with Article III of the United States Constitution;

and the Court having found that venue of this proceeding and the Motion to Shorten in this district

is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due, sufficient, and proper notice of the

Motion to Shorten having been provided under the circumstances and in accordance with the

Bankruptcy Rules and the Local Rules, and it appearing that no other or further notice need be

provided; and the Court having found cause for the relief requested in the Motion to Shorten

pursuant to Local Rule 9006-1(e); and the Court having found and determined that the relief sought

in the Motion to Shorten is in the best interests of the Debtors, their estates, their creditors, their

stakeholders, and all other parties in interest, and that the legal and factual bases set forth in the

Motion to Shorten establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion to Shorten is GRANTED as set forth herein.

                   2.           The Motion will be considered by the Court on December 19, 2023 at

3:00 p.m. (Eastern Time) (the “Hearing”).

                   3.           Any response or objection to the Motion shall be filed no later than

December 14, 2023 at 12:00 p.m. (Eastern Time).

                   4.           The Trustee is authorized to file a Certification of No Objection on or after

December 15, 2023 at 4:00 p.m. (Eastern Time) in the event that no objections are filed to the

Motion.




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                   5.           This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.




  Dated: December 7th, 2023                              CRAIG T. GOLDBLATT
  Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE




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